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                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MASSACHUSETTS
                                   EASTERN DIVISION

In re:

HEIDI A. WRIGHT,
                                                        Chapter 7
                Debtor.                                 Case No. 18-10852-FJB



    TRUSTEE’S OPPOSITION TO MOTION OF NEW RESIDENTIAL MORTGAGE
          LOAN TRUST FOR RELIEF FROM THE AUTOMATIC STAY

         David B. Madoff (the “Trustee”), the Chapter 7 Trustee of Debtor Heidi A. Wright,

hereby opposes the Motion for Relief from Stay (the “Motion”) filed by New Residential

Mortgage Loan Trust (“New Residential”). As set forth more fully herein, there is sufficient

equity in the Property to allow the Trustee to collect the $70,000 that constitutes the estate’s

interest in the Property, and more than sufficient equity cushion in the Property to adequately

protect New Residential.

                                     Introductory Statement

         Currently pending before the Court are two objections to the Debtor’s asserted homestead

exemption in the Property—one by the Trustee and one by Pearl Wright, the Debtor’s mother-in-

law and asserted judicial lienholder. If the objections are sustained, the Debtor (and thus the

bankruptcy estate) shall be entitled to a payment of $70,000 from her ex-husband in exchange for

her having transferred her ownership to her ex-husband. That payment will presumably come

from the sale of the Property. A foreclosure by New Residential would affect the payment to the

bankruptcy estate. Further, there is a substantial equity cushion in the Property to protect New

Residential.

                                        Specific Responses
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        1.     The Trustee admits the allegations set forth in Paragraph 1 of the Motion.

        2.     The Trustee admits the allegations set forth in Paragraph 2 of the Motion.

        3.     The Trustee is without sufficient information to respond to the allegations set

forth in Paragraph 3 of the Motion.

        4.     The Trustee is without sufficient information to respond to the allegations set

forth in Paragraph 4 of the Motion.

        5.     The Trustee is without sufficient information to respond to the allegations set

forth in Paragraph 5 of the Motion.

        6.     The Trustee admits the allegations set forth in Paragraph 6 of the Motion, but

denies that the Homestead is valid.

        7.     The Trustee admits the allegations set forth in Paragraph 7 of the Motion. Further

answering, the Trustee states that the Pearl Wright attachment is avoidable as a preferential

transfer.

        8.     The Trustee is without sufficient information to respond to the allegations set

forth in Paragraph 8 of the Motion.

        9.     In response to the allegations set forth in Paragraph 9 of the Motion, the Trustee

states that there is substantial equity in the Property, but that such equity does not belong to the

Debtor. Rather, the Debtor, and thus the estate, has an interest only in a $70,000 cash payment

due to the Debtor.

        10.    The Trustee is without sufficient information to respond to the allegations set

forth in Paragraph 10 of the Motion.

        11.    The Trustee denies the allegations set forth in Paragraph 11 of the Motion.




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       12.    The Trustee is without sufficient information to respond to the allegations set

forth in Paragraph 12 of the Motion.



              Respectfully submitted this 2nd day of July, 2018.

                                                   DAVID B. MADOFF, TRUSTEE

                                                   By his attorneys,

                                                   /s/ David B. Madoff
                                                   David B. Madoff (BBO#552968)
                                                   MADOFF & KHOURY LLP
                                                   124 Washington Street, Suite 202
                                                   Foxborough, MA 02035
                                                   (508) 543-0040
                                                   madoff@mandkllp.com




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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on July 2, 2018, he caused a copy of the foregoing

to be served by ECF, upon the following parties.

                                       SERVICE LIST

United States Trustee's Office
JW McCormack Post Office & Courthouse
5 Post Office Square, 10th Fl. Suite 1000
Boston, MA 02109

Peter M. Daigle, Esq.
pmdaigleesq@yahoo.com
(Debtor’s Counsel)

Kelly Jason, Esq.
Kjason@capecodlawyers.com
(Counsel to Pearl Wright)

Marcus Pratt
bankruptcy@kordeassociates.com
(Counsel to New Residential)


                                            /s/ David B. Madoff
                                            David B. Madoff (BBO#552968)




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